Case 1:25-cv-00916-JDB Document119_ Filed 05/06/25 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

Jenner & Block LLP
Plaintiff
VS. Case No.: 1:25-cv-00916-BAH
U.S. Department of Justice, et al.
Defendants

AFFIDAVIT OF SERVICE BY CERTIFIED MAIL

|, Carrie Hollingshed, a Private Process Server, being duly sworn, depose and say, | have been duly authorized to make service of the
documents listed herein in the above entitled case, | am over the age of eighteen years and am not a party to or otherwise interested in
this matter.

DOCUMENT(S): All Summonses issued in this case; Notice of Right to Consent to Trial before a United States Magistrate Judge; Notice,
Consent, and Reference of a Civil Action to a Magistrate Judge; Civil Cover Sheet; and Complaint with Exhibits

SERVE TO: Attorney General of the United States

SERVICE ADDRESS: U.S. Department of Justice, 950 Pennsylvania Avenue, NW, Washington, DC 20530

METHOD OF SERVICE: Service was completed by mailing a copy of the documents listed herein to Attorney General of the United States,
U.S. Department of Justice, 950 Pennsylvania Avenue, NW, Washington, DC 20530 on 04/12/2025 via United States Postal Service,
Certified Mail, Return Receipt Requested. Article Number: 9402 8362 0855 1274 4795 94, Service was signed for on 04/14/2025,

electronic return receipt attached.

| solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge, information,

and belief.

Executed on 04/28/2025

Carrie Hollingshed

Client Ref Number: 358086-201
Job #:13079877

Capitol Process Services, Inc. | 7500 Greenway Center Drive, Suite 420, Greenbelt, Maryland 20770 | (202) 667-0050
Case 1:25-cv-00916-JDB

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April 14, 2025

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